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                             UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

  UNITED STATES OF AMERICA,
                                                      Case No. 1:24-cr-00094-AKB-1
          Plaintiff,
                                                      ORDER ADOPTING REPORT AND
          v.                                          RECOMMENDATION

  TANISHA GRAY,

          Defendant.



       Before the Court is a Report and Recommendation filed by the United States Magistrate

Judge. (Dkt. 33). On February 24, 2025, Defendant appeared before the Magistrate Judge to enter

a change of plea pursuant to a written plea agreement. The Magistrate Judge conducted the plea

hearing and concluded there is a factual basis for Defendant’s admission to forfeiture and plea of

guilty to the charges contained in Count One of the Indictment (Dkt. 2), and that they were entered

voluntarily and with full knowledge of the consequences. No objections to the Report and

Recommendation have been filed.

       The Court now has reviewed the record and finds that the requirements of Rule 11 have

been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003). Specifically, the Court

finds that the Magistrate Judge adhered to the requirements of Rule 11(b); that under

Rule 11(b)(2), the Defendant’s plea was voluntary and not the result of force or threats or promises

apart from the plea agreement; and that a factual basis for the plea exists. See id. Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED that the Report and Recommendation

(Dkt. 33) shall be, and the same is hereby, ADOPTED as the decision of the District Court and

incorporated fully herein by reference.



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       IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the crimes charged in

Count One of the Indictment (Dkt. 2) shall be, and the same is hereby, ACCEPTED by the Court

as a knowing and voluntary plea supported by an independent basis in fact containing each of the

essential elements of the offense.

       IT IS FURTHER ORDERED that Defendant is found GUILTY as to the applicable crimes

charged in Count One of the Indictment (Dkt. 2).




                                                                         March 11, 2025




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